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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
Vv. * CRIMINAL NO. 1:20-cr-00127-CCB
VICTOR RIVERA, *
Defendant *
ve ve ve ve ve ve ve
ENTRY OF APPEARANCE

 

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
Please enter my appearance as assigned counsel in this case for the defendant Victor Rivera.

I certify that I am permitted to practice in this Court.

Respectfully submitted,

By: /s/
Stephen Mercer #12855
RaquinMercer LLC
5906 Hubbard Drive
Rockville MD 20852
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Assigned Counsel for Victor Rivera

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that this Entry of Appearance was served this April 17, 2020, via the
ECF system on all parties.

By: /s/
Stephen Mercer #12855
